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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

 GAYLE BAKER, DONALD J.
 BRUNNELLE, JUDITH A. BRUNNELLE,
 JANE FRASER, BURKE MCCALL
 HARRISON, VICKI S. HARRISON,                               CIVIL ACTION NUMBER:
 JUDITH C. PHILLIPS, ROBERT W.
 WILLIAMSON, III, and RENEE J.                                      2:20-cv-00003
 WILLIAMSON,

                Plaintiffs,

 v.

 MORTGAGE OF AMERICA LENDERS,
 LLC,

                Defendant.


          REPLY BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS



       COMES NOW, Defendant MORTGAGE OF AMERICA LENDERS, LLC (hereinafter

“Defendant”), and pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) and S.D. Ga. L.R. 7.1 submits

this its REPLY Brief in Support of its Motion to Dismiss Plaintiffs’ Complaint, in support of which

it relies upon all pleadings of record, and respectfully shows the following:

I.     INTRODUCTION AND BACKGROUND

       A.      Nature of the Case and Parties

       This is an attempted citizen suit brought under the provisions of the Clean Water Act

(“CWA”), 33 U.S.C.A. §§ 1251 et seq. Plaintiffs are individuals who live or own property in

proximity to the Captains Cove residential development (Doc. 4, ¶¶11-16). Defendant Mortgage

of America Lenders LLC is a company which applied for and received authorization to impact

jurisdictional waters on St. Simons Island, Georgia, which activity is the subject of this action.

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        B.      Plaintiffs’ Allegations

        In summary, Plaintiffs complain of (1) discharge from Detention Pond “A” (located within

Wetland “C”) in violation of the the Clean Water Act Section 402; (2) unauthorized discharge of

dredged and fill material in Wetlands “C”; (3) failure to implement the required sediment and

erosion controls; and ($) failure to comply with CWA § 401. (Doc. 10, p. 9)

II.     STANDARD ON MOTION TO DISMISS

        In considering a motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6),

a district court must construe the complaint in the light most favorable to the plaintiff and accept

all well-pled facts alleged in the complaint as true. Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252,

1260 (11th Cir. 2009). To survive a motion to dismiss, the complaint must include enough facts to

raise a right to relief above the speculative level. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,

127 S.Ct. 1955 (2007).

        When faced with a motion to dismiss for lack of subject matter jurisdiction under Fed. R.

Civ. P. 12(b)(1), it is the plaintiff’s burden to prove facts which show jurisdiction exists over its

claim. Lee v. United States, 361 F.Supp.3d 1306 (S.D. Ga. 2019).

III.    ARGUMENT AND CITATION OF AUTHORITY

        Plaintiff’s’ allegations are not sufficient to survive Defendant’s Motion to Dismiss.

             A. Plaintiffs’ assertion that Defendant is discharging from Detention Pond
                “A” (located within Wetland “C”) in violation of the the Clean Water
                Act Section 402 is not supported by the record.

        Defendant’s approved Stormwater Management Report last revised August 14, 2017,

indicates Detention Pond A is “significantly oversized” and will contain the 100-year storm event,

(Doc. 4-3, p. 10), a fact recognized by Plaintiffs in their Complaint (Doc. 4, ¶5). Plaintiffs assert,

without support, that upon “information and belief, the water level in Detention Pond A is routinely


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over the toper of its outlet structure…” (Doc 4, ¶6). Plaintiffs unsupported assertion is pure

conjecture and is not sufficient to support even an inference that the detention pond does not

operate as planned. As such, Plaintiffs have not carried their burden in the face of a motion to

dismiss.

            B. Plaintiffs assertion that Defendant failed to comply with CWA § 301
               and 404 by filing more than the 0.442 acres wetlands is the subject of
               the EPA enforcement action and Plaintiffs are barred from brining a
               citizen’s suit on the same issue.

         In Count Two of their Complaint, Plaintiffs assert that Defendant failed to comply with

CWA § 301 and 404 by placing unauthorized fill in Wetland C. (Doc. 4, ¶¶111-112). However,

the U.S. Environmental Protection Agency is pursuing an enforcement action against Defendant

for “unauthorized discharges of dredged and/or fill material into waters of the United States …

[which has] impacted approximately 0.25 acres of wetlands.” (Doc. 4-7, p. 2, 4 ). In its January

25, 2019 letter, the U.S. Army Corps of Engineers identifies the location of the unauthorized fill

as being in Wetland C. (Doc. 4-21, p. 2-3).1 Since the documentation contained in Plaintiffs’

Complaint is sufficient to demonstrate the U.E. Environmental Protection Agency is diligently

pursuing an enforcement action against Defendant, Plaintiffs lack standing and the Court must

grant Defendant’s Motion to Dismiss.2




    1
      See ¶16 of the proposed CAFO alleging the unauthorized fill occurred at the same time as
referenced in the Corps January 25, 2019 letter. Further, there exists a series of correspondence
between the Defendant and the U.S. Army Corps of Engineers that identifies, by survey, the
location and amount (0.23 acres) of the unauthorized fill, which Plaintiffs elected to omit from its
Complaint.
    2
       When government enforcement action “begins and is diligently prosecuted, the need for
citizen's suits vanishes.” North and South Rivers Watershed Ass'n, Inc. v. Town of Scituate, 949
F.2d 552, 556 (1st Cir.1991).

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             C. Plaintiffs’ assertion that Defendant failed to implement the required
                sediment and erosion controls cannot support a citizen’s suit because
                the alleged violation occurs in the past and has been corrected.

         Plaintiffs refer the Court to numerous attachments citing deficiencies in the implementation

of BMPs (Doc 4, ¶¶ 80 to 86), but all of these occur in the past, and there is nothing in the

Complaint that would allow a court to infer a continuing violation. Without a continuing violation,

Plaintiffs’ are without standing to bring a citizen’s suit on this issue and Defendant’s Motion to

Dismiss must be granted. See Gwaltney of Smithfield v. Chesapeake Bay Found. Inc., 484 U.S.

49 (1987).

             D. Plaintiffs assert that Defendant failed to comply with CWA § 401 by
                filing more than the 0.442 acres wetlands is the subject of the EPA
                enforcement action and Plaintiffs are barred from brining a citizen’s
                suit on the same issues.

         In Count Four of their Complaint, Plaintiffs assert that Defendant failed to comply with

CWA § 401 by filing more than the 0.442 acres wetlands. (Doc. 4, ¶125). EPA is pursuing an

enforcement action against Defendant for “unauthorized discharges of dredged and/or fill material

into waters of the United States … [which has] impacted approximately 0.25 acres of wetlands.”

(Doc. 4-7, p. 2, 4 ). In its January 25, 2019 letter, the U.S. Army Corps of Engineers identifies the

location of the unauthorized fill as being in Wetland C. (Doc. 4-21, p. 2-3).3 Since the

documentation contained in Plaintiffs’ Complaint is sufficient to demonstrate the U.E.




    3
      See ¶16 of the proposed CAFO alleging the unauthorized fill occurred at the same time as
referenced in the Corps January 25, 2019 letter. Further, there exists a series of correspondence
between the Defendant and the U.S. Army Corps of Engineers that identifies, by survey, the
location and amount (0.23 acres) of the unauthorized fill, which Plaintiffs elected to omit from its
Complaint.

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Environmental Protection Agency is diligently pursuing an enforcement action against Defendant,

Plaintiffs lack standing and the Court must grant Defendant’s Motion to Dismiss.

              E. Plaintiffs lack standing to sue because they fail to plead an “injury in
                 fact.”

           To demonstrate standing, Plaintiffs must show (1) an “injury in fact” that is (a) concrete

and particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is

fairly traceable to the challenged action of the defendant; and (3) it is likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision. Friends of the Earth, Inc. v.

Laidlaw Environmental Servs., 528 U.S. 167, 180–81 (2000). Further, as noted by Plaintiffs,

plaintiffs adequately allege injury in facts when they aver that they use the affected area…”

(emphasis added) Id. at 80. Here, the unauthorized fill is in a wholly contained on Defendant’s

property and which does not discharge stormwater.4 (Doc. 4-3, p. 10). As such there can be no

injury and Court should dismiss this action for lack of standing.

IV.        CONCLUSION

           This purported “citizen suit” should be dismissed pursuant to Rule 12(b)(1) and 12(b)(6)

because (1) Plaintiffs have not supplied anything to support an inference stormwater is being

discharged from Wetland C, (2) there is an active enforcement action being pursued by the U.S.

Environmental Protection Division; (3) Plaintiffs have not supplied anything to support an

inference the past alleged erosion and sedimentation control violation are ongoing, and (4)

Plaintiffs have not pled an injury in fact sufficient to create standing. For all these reasons,

Defendant respectfully requests that its Motion to Dismiss be GRANTED, that each and every



      4
       To survive a motion to dismiss, the complaint must include enough facts to raise a right to
relief above the speculative level. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).


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claim asserted against it in Plaintiffs’ Complaint be dismissed, that Plaintiffs take nothing, and that

Defendant be awarded its costs incurred in this action.

       Respectfully submitted this 6th day of March, 2020.



                                                HALL BOOTH SMITH, P.C.


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WILLIAMSON,

                       Plaintiffs,

v.

MORTGAGE OF AMERICA LENDERS,
LLC,

                       Defendant.


                                                CERTIFICATE OF SERVICE


          I hereby certify that I have this day served the following counsel of record in this case in

accordance with true and correct copies of the foregoing REPLY BRIEF IN SUPPORT OF

DEFENDANT’S MOTION TO DISMISS via electronic delivery addressed as follows:

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                                                  BUTLER SNOW LLP
                                            1170 Peachtree Street NE, Suite 1900
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                                                   Attorney for Plaintiffs


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     This 6th day of March, 2020.

                                    HALL BOOTH SMITH, P.C.


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